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                       EXHIBIT	2	
	                      	
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                                                                  SHADING SYSTEM


                                Engineered to be beautiful.
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Crafted to stay that way.                           In creating them, Lutron established
                                                    an entirely new category of shading
                                                    systems, combining groundbreaking
                                                                                            55 years of cutting-edge innovation.
                                                                                            For the first time, the elegant
                                                                                            visual language and nearly limitless
            In 1993 Lutron invented the quiet
                                                    technology with refined style.          potential of our gracefully slim
            automated shade. These weren’t
                                                                                            keypads and thermostats are available
            the rumbling rollers cheaply adapted    Now, PALLADIOM redefines the
                                                                                            in a shading solution.
            from offices. They were whisper-quiet   standard again, with distinctly
            devices designed for, and befitting,    crafted design and breakthrough         We’re thrilled to offer our next revolution:
            sophisticated homes.                    engineering—the hallmarks of Lutron’s   The PALLADIOM Shading System.
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                                                                  lutron.com/palladiomshades
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                 There’s a familiar axiom in modern design:
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Form follows function.




                 With PALLADIOM
                 shades, we didn’t want
                 to hide our technology—
                 we wanted to feature it.
                 The result is a superbly
                 crafted instrument—
                 one as beautiful inside
                 as it is outside.

                 PALLADIOM embodies
                 everything we stand for:
                 continuous innovation,
                 superior quality and
                 a celebration of design.


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What’s important is the view.




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                                                       Inside and out.
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                                                                              It starts with a single line.


                                                                                                The lines of PALLADIOM
                                                                                                are level, graceful.
                                                                                                Beginning with our
                                                                                                slender, carefully
                                                                                                balanced bottom rail,
                                                                                                PALLADIOM ensures a
                                                                                                balanced aesthetic—
                                                                                                from roller to window
                                                                                                sill. PALLADIOM also
                                                                                                features Lutron patented
                                                                                                Intelligent Hembar
                                                                                                Alignment, designed
                                                                                                to synchronize all
                                                                                                automated shades in a
                                                                                                single room—or in an
                                                                                                entire home. IHA uses
                                                                                                a two-part electronic
                                                                                                control system to
                                                                                                maintain hembar
                                                                                                alignment within
                                                                                                one-eighth of an inch
                                                                                                during motion, and at all
                                                                                                resting positions. The
                                                                                                movement is effortless;
                                                                                                balance is maintained.


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PALLADIOM isn’t just beautiful.                                           It’s strong, too.




                                            Our roller shade can
                                            handle a 12-by-12-foot
                                            window opening—
                                            and the fabric required
                                            to cover it—with a
                                            startlingly slim tube.
                                            Barely 2 inches in
                                            diameter, this high-tech
                                            carbon fiber wonder is
                                            remarkably rigid, yet light
                                            as a feather. The result:
                                            maximum strength,
                                            minimum profile.
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                                              It’s the little black dress of window coverings.




                                                                                        Sleek and sophisticated,
                                                                                        the PALLADIOM
                                                                                        design fits anywhere.
                                                                                        It blends into any
                                                                                        architectural style
                                                                                        seamlessly—particularly
                                                                                        when the jamb bracket
                                                                                        is integrated into a
                                                                                        frame or window recess.
                                                                                        Our handsome circular
                                                                                        bracket visually extends
                                                                                        the structural tube
                                                                                        outward and into the
                                                                                        wall: the shade appears
                                                                                        to float in midair.


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Built to be seen,                                                              not heard.




Lutron automated
shades are already
the quietest in
the industry.
PALLADIOM
continues the
tradition: It is all
but imperceptible.


                                                                                            lutron.com/palladiomshades
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                                                                      Technology that’s forward-thinking.
                                                                      The brackets combine superior workmanship with ingeniously hidden electronics.
                                                                      They have been machined into an aluminum unibody structure that honors the
                                                                      integrity of pure architectural form across a range of mounting conditions—ceiling,
                                                                      wall or jamb. Moreover, within the brackets, the bracket rings can slide open to reveal
                                                                      the programming buttons and indicator LEDs. The design is utterly seamless.




                                                                      OPEN                                         CLOSED




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Specification
MATERIAL
Machined aluminum

FEATURES
n   Unibody structure
n   Integrated wiring
n   C oncealed but
    accessible programming
n   Concealed fasteners
n   Engineered
                                             SATIN                BLACK                 CLEAR      PURE
    wire management                         NICKEL               ANODIZED              ANODIZED    WHITE
n   Symmetrical ½ʺ light gaps

SHADE SIZE
n   Width: 20ʺ to 144ʺ
n   Height: 12ʺ to 144ʺ

POWER
n   35V DC low-voltage


CONTROL SYSTEM
HomeWorks QS

BOTTOM RAIL
Extruded aluminum
with machined end caps
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                                                                                                                                                          Case 1:18-cv-05290-CM Document 12-9 Filed 06/21/18 Page 19 of 21




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                                                                                                                             A tradition of excellence.
                                                                                                                             For more than 50 years, Lutron has been a pioneer in technology,
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                                                                                                                             innovation, and design. We invented modern electronic lighting control, after
                                                                                                                             all. The PALLADIOM Shading System embodies the best of our capabilities.
                                                                                                                             So whether admiring the precision of its workmanship or the wonder
                                                                                                                             of its technology, the PALLADIOM Shading System is a thing of beauty.
                                                                                                                             Enjoy what you see, from any direction. The view is limitless.




                                                                                                                                            END BRACKET                                                        CENTER BRACKET                             JAMB BRACKET



                                                                                                                                                               2 in.                                         2 in.              2 in.                              3 in.
                                                                                                                                                                             3 in.




                                                                                                                                                                                                                                        3 in.
                                                                                                                             3 in.




                                                                                                                                                                                             3 in.




                                                                                                                                                                                                                                                3 in.




                                                                                                                                                                                                                                                                           2 in.
                                                                                                                                         0.5 in.                                                             1 in.                                      0.5 in.




                                                                                                                                                                            Ceiling OR wall mount
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                                                                              SHADING SYSTEM




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Customer Service 1.888.588.7661

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